P“°'m ease 2:03-cr-2044e-JPl\/l Documemss Filed 03/26/05 Pagelofs PagelD 73

 

(Rcv. 3/88)

UNITED sTATEs DISTRICT CoURT

for 1
wEsTERN DISTRICT on TENNESSEE
1110 _ ‘ '
WESTERN DIvIsIoN CLEHK U§A'?);S'I.L(igi)b%m;
WD '»` `.`1 g griggs

U.S.A. vs. CHARLES JOH;NSON JR. pocket No. 2=03CR20446-001

 

 

Petition on Probation and Supervised Release

COMES NOW FREDDIE MCMASTER ll PROBATION OFFICER OF THE COURT presenting
an official report upon the conduct and attitude of Charles Johnson, Jr. who was placed on supervision by the
Honorable Jon P. McCalla sitting in the Court at Memphis, TN on the 3£1_: day of Mguit_, L(M_; who fixed the
period of supervision at one 11 1 year*, and imposed the general terms and conditions theretofore adopted by the
court and also imposed special conditions and terms as follows:

The defendant shall submit to drug testing and drug treatment programs as directed by the Probation Office.

*Tenn of Supervised Release began October 25, 2004.

RESPECTFULLY PRESENTING PETITION FOR ACTION OF COURT FOR CAUSE AS FOLLOWS:
(PLEASE SEE A'I"I`ACI'IED)

PRAYING THAT THE COURT WILL ORDER a SUMMONS be issued for Mr. Johnson to appear before the
Honorable Jon P. McCalla to answer charges of violation of Supervised Release.

ORDER OF COURT I declare under penalty of perjury that the foregoing
is true and correct

Con idered and ordered this § to day
of §§ , 209§ and ordered filed and Executed on 05
made a of the reco s in e above case.
/QMQ ms §`QQ: /" '/?/¢MF
' U.S. Probation Offlcer

 

(/U»dted states Disu-ict Judge
Place Memphis, Tennessee

Thls document entered on the docket sheet fn com llance
with eula 55 and/or az(b) Fsch on g '2_3 ‘Q§

PROB 12 Case 2:03-cr-20446-.]PI\/| Document 58 Filed 08/26/05 Page 2 of 5 Page|D 74

Johnson Jr., Charles
Docket No. 2:03CR20446-001
Page 2

RESPECTFULLY PRESENTING PETITION FOR ACTION OF COURT FOR CAUSE AS FOLLOWS:
THE DEFENDANT HAS VIOLATED TI~IE FOLLOWING CONDITIONS OF SUPERVISED RELEASE:

The defendant shall refrain from any unlawful use of a controlled substance and the defendant shall not
possess a controlled substance.

Mr. Johnson used a controlled substance as evidenced by positive screens for marijuana on April 18, July 6, and
August 15 , 2005. On March 16, 2005, he signed a voluntary statement of admission to having used marijuana on
or about March 2, 2005.

The defendant shall submit to drug testing and drug treatment programs as directed by the Prohation Office.
On March 30, 2005, Mr. Johnson was referred to the Alcohol and Chemical Abuse Rehabilitation Center (ACAR)

to begin drug testing and treatment Between March 30, 2005, and August 17, 2005, he failed to attend ll drug
screens and 4 scheduled counseling Sessions. He was discharged due to non-compliance on August 17, 2005.

ease 2:03-0r-2044e-JPW11Q;19M@58“W;§@§» PaQe 3 01‘5 PaQ€lD 75
l. Defendm-_._CM¢SR>._ML_M_M__MMMS.TNBlM

 

 

 

 

2. Docket Nurnber (Year-Sequence-Defendant No.) 2:03CR20446-001
3. Districthflice Westem District of Tennessee §Memphis)
4. Original Sentence Date 8 31 04
month day year
(lfdg'j”erent than above):

5. Original District/Office

 

6. Original Docket Number (Year-Sequence-Defendant No.)

 

7. List each violation and determine the applicable grade {§eg §7Bl.l }:

 

 

 

 

 

Violation{s} Grade
Usage of a controlled substance (marijuana) C
Failure to participate in drug testing/treatment as directed C
8. Most Serious Grade of Violation (s;e_e; §7Bl. I(b) C
9. Crirninal History Category §§ §7Bl .4(a))74 I

w. Rangeofw\pesonmem<m §vBlA<a))

*Being originally convicted of a Class A misdemeanor, the statutory maximum term of imprisonment is 12 months; 18 U.S.C. §3583(¢)(3}.

ll. Sentencing Options for Grade B and C violations Only (Check the appropriate box):

{X} (a)lf the minimum term of imprisonment determined under §7B1.4(Term of Imprisonment) is at least one month
but not more than six months, §7Bl.3(c) (l) provides sentencing options to imprisonment

{ } (b)If the minimum term of imprisonment determined under §7Bl.4(Term of Imprisonment) is more than six
months but not more than ten months, §7B l .3(c) (2) provides sentencing options to imprisonment

{ } (c)lf the minimum term of imprisonment determined under §7B l .4(Term of lmprisonment) is more than ten
months, no sentencing options to imprisonment are available.

Mail documents to: United States sentencing Commissiol, 1331 Penlsylvania Avenue, N.W.
Suite 1400, Washington, D.C., 20004, Attention: Monitoring Unit

misses entertainment Bsansaéea§la%lOS/ZG/OB Pa@e 4 Of~”’ Pa@€'D 76

12. Unsatisfied Conditions of Original Sentence

List any restitution, line, community confinement home detention, or intermittent confinement previously imposed in connection with the
sentence for which revocation is ordered that remains unpaid or unserved at the time of revocation {B §7B l .S(d)}:

 

 

 

 

Restitution ($) N/A Community Confinement N/A
Fine ($) N/A Home Detention N/A
Other N/A Interrnittent Confinement N/A

 

 

13. Supervised Release

lf probation is to be revoked, determine the length, if`any, of the term of supervised release according to the provisions of §§SD l. l- 1.3 {§§§
§§7131-3(§)(1)}-

Term: N/A to N/A years
If supervised release is revoked and the term of imprisonment imposed is less than the maximum term of imprisonment impossible upon
revocation, the defendant may, to the extent permitted by law, be ordered to recommence supervised release upon release from
imprisonment {_se_e 18 U.S.C. §3583(e) and §7Bl.3(g)(2)}.

Period of supervised release to be served following release from imprisonment

 

14. Dcparture

List aggavating and mitigating factors that may warrant a sentence outside the applicable range of imprisonment

 

 

 

 

 

 

 

15. Oft'rcial Detention Adjustment {M §7B1.3(e)}: months days

Mail documents to: Unitcd States Seltencing Commission, 1331 Pennsylvania Avenue, N.W.
Suite 1400, Washington, D.C., 20004, Atteotion: Monitoring Unit

     
 

  

UNITED sTATE ISTRIC COURT - WETERN DSRTCT OFTENNESSEE

Notice of Distribution

This notice confirms a copy ofthc document docketed as number 58 in
case 2:03-CR-20446 was distributed by faX, mail, or direct printing on
August 29, 2005 to the parties listcd.

 

 

Katrina U. Earley

U.S. ATTORNEY'S OFFICE
167 N. Main St.

Ste. 800

l\/lemphis7 TN 38103

Sheila D. Brown

LAW OFFICE OF SHEILA D. BROWN
9160 Highway 64

Ste. 12

Lakeland7 TN 38002

Honorable .l on McCalla
US DISTRICT COURT

